Case 2:23-cv-06529-NJC-ARL Document 22 Filed 11/21/23 Page 1 of 3 PageID #: 215

 Case 2:23-cv-06529-njc-arl                                                  November 21, 2023
                                                                                              FILED
                                                                                              CLERK

                                       Motion For Extension                      11/21/2023 11:16 am
                                                                    Received Electronically
                                                                      U.S. DISTRICT COURT
                               Bullion Shark LLC (Plaintiff)     EASTERN DISTRICT OF NEW YORK
               _______________________________________________________LONG ISLAND OFFICE
                                               V.
                           Flip A Coin Bullion LLC, Matthew forman,
                      Christina Cappello, Jacob forman and Joseph Forman
                                           (Defendant)
                ________________________________________________________


 Dear Judge Choudhury,


         We are Flip A Coin Bullion LLC the defendant in the case and we are asking for a motion
 of extension from court today, November 21st, 2023 in court room 1040. The reason for this
 motion is that Joseph Forman was Admitted into AdventHealth Hospital in Tampa Florida last
 night due to chest pains and shortness of breath. We will have all of the paperwork and a signed
 form from the hospital attached. Christina, Matthew and Jacob are headed over to the hospital
 now to be with him. We also need more time to prepare for court as we only heard about the
 hearing date yesterday November 20th 2023. We are asking for a 30 day continuance from
 todays date November 21st 2023.

 If you have any questions please feel free to call the hospital, the number is on the form
 attached.


 Thank you Kindly,

 Flip A Coin LLC

 Joseph Forman
 Matthew Forman
 Christina Cappello
 Jacob Forman
Case 2:23-cv-06529-NJC-ARL Document 22 Filed 11/21/23 Page 2 of 3 PageID #: 216

 Case 2:23-cv-06529-njc-arl                                                                             November 21, 2023




                                                                                              NO" 21 . 2023 Josepl




                  Advent H «i~lth
                                          ••                         --·-   ___.__  _   __,




              Excuse from Work, School, or Physical Activity
                  JDS & P H Eo@!VIA:!Y           needs to be eJCcused fron
             _    _ Work.
             -      School.                 CI.J.J're. n;f-/   'f un ctert\01, na ty:eo,--m-e .,-.f- •
             - - Physical activity.                             J       J11
             This is effective for the following dates: Ab M.FTT ED /'2.. 0                         -·
             He or she may return to work or school, but should avoid physical activity or other activities fron
             until _ _ _ _ __
           Activity restrictions include:
                                                                                     5 l33~tJ?v l 60
          __ Lifting more tha n _ _ _ _ lb / kg.                                     "PI-ease C£).l \
          _ _ Sitting longer than           minutes at a ti me .
          _ _ Standing longe r than                        minutes at a time.        wi-th cwesb~ •
         _    _ Other activities including:

        _ _ He o r she may returh to full physical activity on                  -r::E:> D
        Health care provider name (printed): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _

        Health care provider (signature):


       Date: _ ~-,..::.~:..+!~~--- - - -
      This inform ion is not intended to replace advice given to you by your hea\th care pro-..,ider. Ma
     you discuss any questions you have with your health care provider.

     Docllmenl RalNNd: 200z.o&-13 OOcUn)tllt up;tlled: 2
     ElseYler Patient EduCd(IIIO,ZOZJ !IMvier lfla.
Case 2:23-cv-06529-NJC-ARL Document 22 Filed 11/21/23 Page 3 of 3 PageID #: 217

 Case 2:23-cv-06529-njc-arl                                 November 21, 2023




 CC:
 Bullion Shark LLC
 Kyle F. Monaghan
